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ANDREW M. zAcKs (SBN 147794)
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Attorncys for: Plaintiff Regan Carroll Trust

UNITED STATES DISTRICT COURT

NORTI-IERN DIS'I`RICT OF CALIFORNIA

SAN FRANCISCO

REGAN CARROLL TRUST, Regan
Carroll, trustee,

Plaintiff,
v.

CITY AND COUNTY OF SAN
FRANCISCO, SAN FR.ANCISCO
DEPARTMENT OF BUILDING
INSPECTION, SAN FRANCISCO
BUILDING INSPECTION
COMMISSION, SAN FRANCISCO
PLANNING DEPARTN[ENT

Det`endants.

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ACTION NO= 007-2577 SBA
FIRST AMENDED CoMPLAlNT
FOR INJUNCTIVE RELIEF AND
DAMAGES FOR vIOLATION OF
cIvIL RIGHTS

[28 U.S.c. § 1933]

DEMAND FOR JURY TRIAL

 

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_TURISDICTION AND VENUE

1. Thjs Court has jurisdiction over this action pursuant to 28 U.S.C. §§
1331, in that the controversy arises under the United States Constitution and under 42
U.S.C. §§ 1983. Venue is proper pursuant to 28 U.S.C. § 1391(a) in that all defendants
reside in this judicial district and the events giving rise to the claims occurred in this
district.

2. Plaintiff Regan Carroll Trust is a private trust established in the state of
California. Regan Carroll is its trustee.

3. Regan Carroll Trust owns the real property located at 1179-1189
Tennessee Street (the “Property”), in San Francisco, California.

4. Defenda:nt City and County of San Ftancisco (“City”) is
an incorporated municipality of the State of Calit`ornia. Defendants San Francisco
Deparrment of Building Inspection (“DBI”), San Francisco Building Inspection
Commission (“BIC”), and San Francisco Planning Department (“Plannjng”) are
divisions of defendant City;

STATEMENT OF FACTS

5. In or around March 2000, Plaintiff succeeded to a building permit
application to the City for a four- story mixed use commercial/residential building
(“Pro}'ect”] on the Property, BPA No. 9902819 (“App]ication”). Plaintiff’s
predecessor-in-interest had been directed by Planning to review the project with the
Dogpatch Neighborhood Associan`on (“DNA”) to obtain the review of and approval

for the Project because Planning had ceded and delegated its governmental authority

 

 

 

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First Ax‘nendcd Coroplaint for Injunctive Relief and Damages

 

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to that private body.1 This delegation of power is similar to that in §c_hu@

Mi_e (N.D. Cal. 1994) 849 F.Supp. 708 in which this Court found the Cit_v’S
delegation of land use power to another San Francisco neighborhood group (Bernal
I-Ieigl'lts, not far from Dogpatch) violated the United States Constitution. Upon
succeeding to the Application, Plaintiff also met with DNA for the purpose of
obtaining its approval.

6. Planrling refused to deternline whether the Application was complete
unless DNA approved it. However, because DNA would neither approve nor
disapprove the Application,l Plaintiff had to insist Planning do its job.

7. 'I'he App]ication was finally determined to be complete by Planning
in ]une 2001. After the Application was deemed complete, Planning caused a notice
to be posted and mailed in accordance with Section 311 of the Planning Code
commencing the 30 day appeal period. DNA made no objections during the
Planning Commission continent period that expired on ]uly 26, 2001. Planning
approved the Application on August 7, 2001, Planning approved the site permit on
September 10, 2002. 'I`his constituted the end of the discretionary approval process.

8. During the next three years the addenda drawings were routed to
various departments of the City for ministerial review and approval, revisions were
made, and all necessary approvals were given. Having received all approvals, the

Central Permit Bureau (“CPB”) sent Plaintiff a notice that the permit was ready to be

 

1Dogpatch is a little-known, but powerful and politically-connected neighborhood on
the eastern side Of Sat'l Francisco.

 

 

 

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First Amended Complaint for Injunctivc Relief and Darnages

 

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picked up subject only to the condition of payment of school facilities fee.

9. Upon presentation ofthe certificate of payment for the school facilities
fee, CPB had a mandatory duty to deliver the permit to Plaintift`.

10. On December 2, 2005, Plaintiff presented the Certificate of Payment
of School Facility Fees (“Certificate”) issued by the San Francisco Unified School
District evidencing his payment of school fees of $20,282.36 to the CPB, but was
advised by the CPB staff that the permit and addenda drawings had been removed
from the CPB by Moses Corrette of Planning after business hours and he would have
to speak with Corrette. Plaintiffwas not told the circumstances of or the authority
under which Corrette allegedly removed the drawings, but believes it to be under
mysterious and aberrant circumstances - Corrette was not the planner assigned to
the Project, had not been involved in the approval process, and removed the
drawings from CPB after being contacted by a member of DNA.

11. Corrette had been intimately involved with DNA and its members
during the process that ultimately resulted in the creation of the Dogpatch Planning
Historical District.

12. The Certificate was not accepted and the permit was not delivered to
Plaintiff as promised and as required upon receipt of proof ofpayment of the school
facility fees.

13. The action by Corrette was in excess of his own authority as a planner

not involved in the project approval process. It was also in excess of the power of the

Planning Department itself.

 

 

 

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First Amended Complaint for lnjunctive Rclief and Darnages

 

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14. Plaintiff discovered that the mysterious and aberrant circumstances
consisted of ex parte Contacts and undue influence by certain members of the DNA
on public ofiicials, and more particularly on Corrette. Unbeknownst to Plaintiff, the
permit and addenda drawings were removed from CPB late at night, in a manner
reminiscent of Watergate, and taken back to Planning. Plaintiff` was never notified of
Moses Corrette’s action, although this occurred several weeks prior to the
presentation of the Certificate by Plaintiff. CPB’s refusal to deliver the permit to
Plaintiff upon proof of payment of the school facilities fees was in excess ofits
jurisdiction and in violation of its ministerial duty as DBI had no discretion
regarding the delivery of the permit.

15. Contrary to Plaintiff’s vested right to the permit, DBI and Planning
contrived various meritless reasons for withholding it, including non-substantive
changes to the Planning Code enacted after Plaintiff’s right vested. 'I`hey engaged in
unreasonable, arbitrary, and capricious conduct, without any rational basis, and
singled Plaintiff out for special handling by order of DNA as a result of the power the
City had unlawfully delegated to it.

COUNT ONE AGAINST AJ_.L DEFENDANTS
VIOLATION OF 42. U.S.C. § 1983 BY
UNLAWFUL DELEGATION OF POWER

16. Plaintiff incorporates by reference paragraphs 1-15.

17. Defendants have de facto delegated municipal regulatory decision-
making authority to a private entity - DNA - in violation of the due process clause of

the Fourteenth Amendment to the United States Constitution. As a result, DNA has

 

 

 

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First Arnended Complaint for Injunctive Relief and Darnages

 

 

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acted under the color of state law and there is such a nexus between Defendants and
DNA that the action of the DNA can be considered and treated as the actions of
Defendants.

18. Furthermore, this delegation of power to DNA was done without
supplying standards to govern the use of private discretion. DNA wields his
influence against those it disfavors and for those it favors.

19. Defendants act as a rubber stamp for the decisions and demands of
DNA, thus constituting an unlawful delegation of power to the detriment and harm
of Plaintiff because he is disfavored by DNA. I-Iad Defendants not delegated their
power to DNA, his status as being disfavored by DNA would not have affected his
right to permit issuance.

COUNT TWO AGAINST ALL DEFENDANTS
VIOLATION OF 42. U.S.C. § 1983
BY VIOLATION OF EOUAL PROTECTION

20. Plaintiff incorporates by reference paragraphs 1-15.

21. Defendants’ delegation of governmental power to DNA is irrational,
arbitrary and capricious.

22. Any proffered rational basis by Defendants for their conduct is a
pretext.

23. DNA used the delegation of power to abuse Plaintiff’s rights to due
process of the law in his permit application The City knew or should have known
that DNA would abuse the power delegated to it by the Ciry and would not act in

accordance with standards that would have been applicable to the City.

 

 

 

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First Amcnded Complaint for Injunctive Reljef and Damages

 

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24. By unlawfully delegating City power to DNA, without standards or
oversight, Defendants have deprived Plaintiff of the equal protection of the law in
violation of the Fourteenth Amendment to the United States Constitution.

COUN'I` TI-IREE AGAINS'I' ALL DEFENDANTS
VIOLA'I`ION OF U.S. CONSTITUTION, AME`NDMENT l

RETALIATION FOR EXERCISING FIRS'I' AMENDMENT RIGI-I'I`

25. Plaintiff incorporates by reference paragraphs 1-15.

26. Plaintiff engaged in a protected First Amendment activity by filing this
action and other state court actions against Defendants.

27. Plaintiff is informed and believes and thereon alleges that Defendants,
in retaliation for Plaintiff filing this action and other actions against Defendants in
State Court, are intentionally delaying and continue to delay the processing of the
Application for this Project as well as are intentionally delaying and continue to delay
the processing of matters related to other real property owned by Plaintiff.

28. Plaintiff is further informed and believes and thereon alleges that the
delays in processing of the Application for this Project and other matters related to
other real property owned by Plaintiff would not have occurred had Plaintiff not filed
this action and/or the state court actions.

PRAYER
By reason of the foregoing acts, the Plaintiff prays the Court:

1. Enjoin the unlawful acts of the Defendants, specifically:

a. To enjoin the Defendants from unlawfully delegating their

authority to DNA or anyone else;

 

 

 

First Amcnded Cornplaint for lnjunctive Relief and Damages

 

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b. To enjoin the Defendants from refusing to issue qualified
permits;
2. For an award of damages in the amount of $5,000,000;
3. For an award of attorney’s fees as allowed by law; and
4. For any other relief that the Court deems just and proper.
Date: Octobel:;“_, 2007 ZACKS UTRECHT 8c LEADBETTER, P.C.
235 Mo tgomery Street, Suite 400
San Fra lcisco, CA 94104
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doanw M. zAcKs
torneys for Plaintiff
DEI\{AND FOR _T_URY TRlAL
Plaintiff hereby demands trial by jury.
Date: Octoberjo, 2007 ZACKS UTRECI-IT 8c LEADBETTER, P.C.

235 Montgomery Street, Suite 400
San Fra isco, CA 94104

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By' ,
\:zlninzw M. zAcKs
tomeys for Plaintiff

 

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First Amended Complaint for Injunctive R.elief and Darnages

 

